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                             United States District Court
                              Western District of Texas
                                   Austin Division

Fund Texas Choice, et al.,                       §
                                                 §
       Plaintiffs,                               §
                                                 §
v.                                               §
                                                                               No. 1-22-CV-859-RP
                                                 §
Ken Paxton, in his official capacity             §
of Attorney General, et al.                      §
                                                 §
      Defendants.                                §


                     Attorney General Paxton’s Motion to Stay


        Defendant Ken Paxton in his official capacity as Attorney General respectfully requests

that the Court stay its Order requiring testimony from the Attorney General pending the Attorney

General’s request for relief from the Fifth Circuit. In support of this motion, the Attorney General

shows as follows:

     1. On October 4, 2022, this Court issued an Order granting Plaintiffs’ Motion for

Reconsideration and denying the Attorney General’s Motion to Quash. Dkt. #83. The Court

vacated its previous order granting the Attorney General’s Motion to Quash and ordered the

Attorney General to provide testimony by deposition or evidentiary hearing so that the Court may

determine whether Plaintiffs are entitled to the relief they seek. Id. at 8–9, 13.

     2. The Attorney General intends to seek relief from that Order from the Fifth Circuit by no

later than Friday, October 7, 2022.
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   3. “The District Court has broad discretion to stay proceedings as an incident to its power to

control its own docket.” Clinton v. Jones, 520 U.S. 681, 706–07 (1997). The purpose of such a stay

is to ensure “economy of time and effort for [the court], for counsel, and for litigants.” Landis v.

North American Co., 299 U.S. 248, 255 (1936). Accordingly, the Attorney General requests that the

Court stay the order pending resolution of his request for relief from the Fifth Circuit.

   4. In addition, the Court should stay the Order because it may have been based on Plaintiffs’

incomplete recitation of events in their Motion for Reconsideration. Less than 90 minutes after

Plaintiffs first raised the issue of the Attorney General’s testifying at the Preliminary Injunction

hearing, Defendant’s counsel responded, “[W]e don’t believe there’s been a showing that entitles

plaintiffs to apex testimony.” Ex. A at 3–4. From the beginning, Plaintiffs were aware of

Defendant’s position on this issue, but this correspondence was not included in the Motion for

Reconsideration. Compare Dkt. #67-1 at 6–7, with Ex. A at 3–4.


                                           Conclusion

       The Attorney General respectfully requests that the Court stay its Order (Dkt. #83) until

disposition of his request for relief from the Fifth Circuit.
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 Dated October 5, 2022.                          Respectfully submitted,

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                                Certificate of Service
       I hereby certify that on October 5, 2022, a true and correct copy of the foregoing document

was served via the Court’s ECF system to all counsel of record.

                                            /s/Amy S. Hilton
